CASE 0:25-cv-02794-KMM-DLM   Doc. 1-1   Filed 07/08/25   Page 1 of 9




                        EXHIBIT A
CASE 0:25-cv-02794-KMM-DLM   Doc. 1-1   Filed 07/08/25   Page 2 of 9




                        EXHIBIT A
CASE 0:25-cv-02794-KMM-DLM   Doc. 1-1   Filed 07/08/25   Page 3 of 9




                        EXHIBIT A
CASE 0:25-cv-02794-KMM-DLM   Doc. 1-1   Filed 07/08/25   Page 4 of 9




                        EXHIBIT A
CASE 0:25-cv-02794-KMM-DLM   Doc. 1-1   Filed 07/08/25   Page 5 of 9




                        EXHIBIT A
CASE 0:25-cv-02794-KMM-DLM   Doc. 1-1   Filed 07/08/25   Page 6 of 9




                        EXHIBIT A
CASE 0:25-cv-02794-KMM-DLM   Doc. 1-1   Filed 07/08/25   Page 7 of 9




                        EXHIBIT A
CASE 0:25-cv-02794-KMM-DLM   Doc. 1-1   Filed 07/08/25   Page 8 of 9




                        EXHIBIT A
CASE 0:25-cv-02794-KMM-DLM   Doc. 1-1   Filed 07/08/25   Page 9 of 9




                        EXHIBIT A
